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                         EXHIBIT C
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                      [DRAFT] INJUNCTIVE RELIEF ORDER

I.     SCOPE

       A.   This Order applies to the CVS, Walgreens and Walmart pharmacies operating in
            Lake and Trumbull Counties, Ohio that are identified on Exhibit 1 (“Track 3
            Pharmacies”) and to certain prescriptions that are filled by those Track 3
            Pharmacies. “Track 3 Pharmacy” shall refer individually to a singular one of the
            Track 3 Pharmacies.

II.    DEFINITIONS

       A.   “Benzodiazepine” shall mean (a) alprazolam; (b) clonazepam; (c) diazepam; (d)
            lorazepam; (e) temazepam; and (f) triazolam.

       B.   “Designated Controlled Substances” shall mean (a) oxycodone; (b) hydrocodone;
            (c) hydromorphone; (d) oxymorphone; (e) morphine; and (f) fentanyl.

       C.   “Patient” means the individual for whom a prescription was written by a Provider
            for a Designated Controlled Substance and presents it to one of the Track 3
            Pharmacies.

       D.   “Prescriber” means the individual who has written a prescription for a Designated
            Controlled Substance that is presented to one of the Track 3 Pharmacies.

III.   COURT-REQUIRED FLAGS

       A.   Court-Required Flags: Each Track 3 Pharmacy shall have a policy that
            identifies the following Court-Required Flags (referred to in this Order for the
            sake of convenience as “Policy”).

            1.     Trinity: A Patient simultaneously presents prescriptions at the Track 3
                   Pharmacy for the combination of a Designated Controlled substance, a
                   Benzodiazepine and carisoprodol (a muscle relaxant also known under the
                   brand name Soma®).

            2.     Patient Distance: The Patient resides more than 50 miles from the Track
                   3 Pharmacy where the Designated Controlled Substance prescription is
                   presented.

            3.     Prescriber Distance: The Prescriber does not have an office within 50
                   miles from the Track 3 Pharmacy where the Designated Controlled
                   Substance prescription is presented.

            4.     Early Fill: The Patient seeks to fill a Designated Controlled substance
                   prescription at the Track 3 Pharmacy more than five (5) days prior to the
                   contemplated exhaustion date of an earlier prescription for the same
                   Designated Controlled Substance (e.g., exhaustion of the days’ supply


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                  assuming the prescription has been taken in accordance with the
                  prescribers’ directions on the face of the prescription).

      B.   Resolution and Documentation of Court-Required Flags:

           The Policy shall provide that if the prescription is to be filled the dispensing
           pharmacist must (a) resolve any Court-Required Flags before filling the
           prescription and (b) document the resolution of any Court-Required Flags. This
           Order does not prohibit the dispensing of prescriptions that raise Court-Required
           Flags.

           1.     Resolution of Court-Required Flags: The Policy shall provide that any
                  Court-Required Flags will be considered “resolved” if, after investigation
                  and given other facts and circumstances surrounding the prescription, the
                  pharmacist determines, in his or her professional judgment, that the facts
                  that triggered the Court-Required Flag do not lead him or her to believe
                  that the prescription was written or is being submitted for an illegitimate
                  purpose.

           2.     Documentation of Resolution of Court-Required Flags: The Policy
                  shall provide that resolution of any Court-Required Flags identified by the
                  dispensing pharmacist in connection with a prescription that will be filled
                  must (a) be documented and (b) that such documentation must be
                  maintained for the duration of the Term of this Order. Documentation in
                  the Track 3 Pharmacy’s electronic records will satisfy this obligation.

                  To the extent that a Court-Required Flag is resolved with facts or
                  circumstances that are reflected or documented in the Track 3 Pharmacy
                  records, further documentation of those facts or circumstances is not
                  required. For example, if a patient lives 55 miles from the pharmacy but
                  works near the pharmacy and that fact is known to the dispensing
                  pharmacist and reflected in pharmacy records, no documentation for the
                  resolution of the Court-Required Flag addressing patient distance from the
                  pharmacy is required in connection with individual prescriptions
                  dispensed.

IV.   TRAINING

      A.   The Policy described above shall be disseminated to each Track 3 Pharmacy.

      B.   The corporate offices or headquarters for each Track 3 Pharmacy will disseminate
           a reminder notice of the Policy to their Track 3 Pharmacies on an annual basis.

      C.   Pharmacists on staff at a Track 3 Pharmacy shall undergo training on the Policy.




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V.     CERTIFICATIONS

       A.   In connection with the training required by this Order, each Track 3 Pharmacy
            shall require pharmacists on staff to certify on an annual basis that they
            understand the Policy and are complying with such policy to the best of their
            ability.

       B.   The corporate offices or headquarters for each Track 3 Pharmacy shall certify to
            this Court that the Policy has been issued and the training required by this Order
            has been conducted.

VI.    NALOXONE

       A.   Naloxone is a medication approved by the Food and Drug Administration
            designed to rapidly reverse opioid overdose. It is also known under the brand
            name Narcan®.

       B.   The Track 3 Pharmacies shall maintain a non-patient specific standing order
            allowing for the dispensing of naloxone or other overdose reversal medications to
            the extent permitted under Ohio law.

VII.   DESIGNATED CONTROLLED SUBSTANCES DISPOSAL

       A.   The Track 3 Pharmacies shall make available or display information about the
            need to dispose and the proper disposal of unneeded Designated Controlled
            Substances and the availability of disposal boxes, disposal pouches or other
            means of safe disposal to Patients receiving Designated Controlled Substance
            prescriptions from the Track 3 Pharmacies. The information may be expressed
            specifically in terms of Designated Controlled Substances or more generally in
            terms of prescription medications, controlled substances or opioids.

VIII. IMPLEMENTATION AND TERM

       A.   The Court understands that certain of the relief contained in this Order may
            require time for the Track 3 Pharmacies to implement. Accordingly, if a stay is
            not issued pending appeal, the Effective Date of this Order shall be 90 days after
            the date of this Order. Alternatively, if a stay is issued, the Effective Date of this
            Order shall be 90 days from the issuance of the final mandate.

            1.     The Policy shall be issued by the Effective Date (“Policy Issuance
                   Deadline”).

            2.     No later than 60 days after the Policy Issuance Deadline: (a) the training
                   required by this Order shall be completed and (b) the Policy shall become
                   effective.

       B.   This Order and the obligations identified in it shall be in effect for a period of
            three (3) years after the Effective Date (“Term”).


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IX.   CHANGES AND MODIFICATIONS

      A.   Nothing in this Order shall be construed to (a) prohibit a Track 3 Pharmacy from
           implementing improvements or enhancements or from otherwise evolving its
           systems and practices, or (b) prohibit a Track 3 Pharmacy from implementing
           other policies or practices beyond those addressed in this Order.

      B.   In the event that a Track 3 Pharmacy determines that there is a conflict with this
           Order and the requirements of federal, state or local laws such that the Track 3
           Pharmacy determines that it cannot comply with the terms of this Order without
           violating these requirements, the Track 3 Pharmacy shall notify the Court that it
           intends to comply with the law to the extent necessary to eliminate the conflict.

      C.   In the event that a Track 3 Pharmacy determines that circumstances have changed
           such that certain requirements of the Order should be adjusted, the Track 3
           Pharmacy may so advise the Court and petition the Court for relief.




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                      EXHIBIT 1 – TRACK 3 PHARMACIES

Defendant    County       Store Number    Store Address

CVS          Lake         3326            9040 Mentor Ave.
                                          Mentor, OH 44060
                          3356            265 East Erie St.
                                          Painesville, O 44077
                          4327            1506 Mentor Ave.
                                          Painesville, OH 44077
                          4348            28700 Chardon Rd.
                                          Willoughby Hills, OH 44092
                          4351            6005 Som Center Rd.
                                          Willoughby, OH 44092
                          5941            1890 N. Ridge Rd.
                                          Painesville, OH 44077
                          7686            7301 Lakeshore Blvd.
                                          Mentor, OH 44060
                          16484           36195 Euclid Ave.
                                          Willoughby, OH 44094
                          17388           9669 Mentor Ave.
                                          Mentor, OH 44060
             Trumbull     2486            1331 Youngstown Warren Rd.
                                          Niles, OH 44446
                          3044            134 Youngstown Hubbard Rd.
                                          Hubbard, OH 44425
                          3304            3933 Parkman Road NW
                                          Warren, OH 44481
                          4606            620 E. Market St.
                                          Warren, OH 44481
                          16644           5555 Youngstown Warren Rd.
                                          Niles, OH 44446
Walgreens    Lake         13058           35279 Vine St.
                                          Willowick, OH 44095
                          4294            5881 Som Center Rd.
                                          Willoughby, OH 44094
                          4317            9400 Mentor Ave.
                                          Mentor, OH 44060
                          5820            6101 Andrews Rd.
                                          Mentor on the Lake, OH 44060
                          5821            132 Richmond St.
                                          Painsville, OH 44077
                          10518           6707 N. Ridge Rd.
                                          Madison OH 44057
             Trumbull     5549            804 W. Market St.
                                          Warren, OH 44481


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                          6888             5027 Youngstown Warren Rd.
                                           Niles, OH 44446
                          9077             3390 Elm Rd. NE
                                           Warren, OH 44483
                          9669             15 S. Main St.
                                           Hubbard, OH 44425
                          10569            2249 Youngstown Warren Rd.
                                           Niles, OH 44446
                          11730            600 S. Mecca St.
                                           Cortland, OH 44410
Walmart      Lake         Store 1863       33752 Vine Street
                                           Eastlake, OH 44095
                          Store 3608       6067 N. Ridge Rd.
                                           Madison, OH 44057
                          Store 1857       9303 Mentor Ave.
                                           Mentor, OH 44060
             Trumbull     Store 2197       2016 Millennium Blvd.
                                           Cortland, OH 44410
                          Store 3860       200 Goldie Rd.
                                           Youngstown, OH 44504




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